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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 CHRISTINE CONFORTI,                                  Case No. 3:20-cv-08267

                   Plaintiff,
                                              MEMORANDUM/CERTIFICATION
 v.                                              OF JAIME R. PLACEK, ESQ.
                                                SUBMITTED IN SUPPORT OF
 CHRISTINE GIORDANO HANLON, in                MOTION OF THE OFFICE OF THE
 her official capacity as Monmouth              BERGEN COUNTY CLERK TO
 County Clerk, SCOTT M. COLABELLA,            INTERVENE AS AN INTERESTED
 in his official capacity as Ocean County                PARTY
 Clerk,      and     PAULA      SOLLAMI
 COVELLO, in her official capacity as
 Mercer County Clerk,

                   Defendants.


      I, Jaime R. Placek, Esq., do hereby certify as follows:

      1.     I am an attorney at law in the State of New Jersey and an associate

with the law firm of Kaufman, Semeraro & Leibman, LLP, general counsel to the

Office of the Bergen County Clerk, and as such I have personal knowledge of the

facts set forth in this memorandum and certification.

      2.     The Office of the Bergen County Clerk was provided a copy of the

Complaint filed by Plaintiff Christine Conforti (the “Plaintiff”) initiating this action

and asserting various claims related to alleged violations of Federal and New Jersey

constitutional rights based upon claims concerning primary election ballot design

and placement against named defendants Christine Giordano Hanlon, in her official

capacity as the Monmouth County Clerk; Scott M. Colabella, in his official capacity
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as the Ocean County Clerk; and Paula Sollami Covello, in her official capacity as

the Mercer County Clerk (collectively, the “Defendants”).

     3.      Generally, Plaintiff’s Complaint (the “Litigation”) raises questions

concerning the way Defendants’ enforce and administer ballot design and ballot

placement laws. See Plaintiff’s Complaint, ECF Doc. 1. Plaintiff seeks a declaration

that New Jersey’s primary election bracketing and ballot placement system is

unconstitutional (Complaint, ¶ 8), and injunctive relief to “ensure that the primacy

effect/positional bias does not continue to advantage bracketed candidates over

other candidates running for the same office[.]” (See Plaintiff’s Complaint, ¶ 9.)

     4.      Plaintiff asserts claims against Defendants as county clerks “vested

with certain statutory duties and obligations including but not limited to the

designing, preparation, printing of all ballots, the issuance of mail-in ballots, and

conducting a drawing for ballot positions for various elections[]” held in their

respective counties. See Plaintiff’s Complaint, ¶¶ 17-20.

     5.      In addition, Plaintiff expressly identifies the Office of the Bergen

County Clerk as a party in interest to this Litigation, asserting that:

             The County Clerks for the remaining 18 counties in New
             Jersey are not parties to the Complaint but are being or
             will be furnished with a copy of the Complaint because
             they also enforce and administer ballot design and ballot
             placement laws which are called into question in this
             action in their respective counties: Atlantic, Bergen,
             Burlington, Camden, Cape May, Cumberland, Essex,
             Gloucester, Hudson, Hunterdon, Middlesex, Morris,
             Passaic, Salem, Somerset, Sussex, Union and Warren.

             [See Plaintiff’s Complaint ¶ 21 (emphasis added).]


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      6.     The Office of the Bergen County Clerk desires to be informed on all

updates as to this Litigation, and to reserve its place as an intervenor in the event

the Office of the Bergen County Clerk determines it is necessary to further plead or

file a motion to protect it’s interests should Plaintiff seek affirmative relief either

against, or that will directly impact, the Office of the Bergen County Clerk.

      7.     Pursuant to Fed.R.Civ.P. 24(a)(2), the Office of the Bergen County

Clerk is afforded intervention as of right, as a party who “claims an interest relating

to the property or transaction that is subject of the action, and is so situated that

disposing of the action may as a practical matter impair or impede the movant’s

ability to protect it’s interest, unless existing parties adequately represent that

interest.”

      8.     As expressly represented, and affirmative plead, by Plaintiff in their

Complaint, this Litigation may potentially result in an adverse impact upon the

interest and practices of the Office of the Bergen County Clerk in carrying out the

performance of its statutorily mandated election duties. The Defendants may not

adequately represent the interests of the Office of the Bergen County Clerk, as the

practices and procedures of Defendants with respect to balloting of primary election

candidates may differ from those used by the Office of the Bergen County Clerk. As

such, potential adjudication disqualifying or requiring certain practices and

procedures may affect the Office of the Bergen County Clerk.

      9.     Alternatively, the Office of the Bergen County Clerk is entitled

permissive intervention pursuant to Fed.R.Civ.P. 24(b)(1)(B), as the Office of the


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Bergen County Clerk may have defenses “that shares with the main action a

common question of law or fact.”      The Office of the Bergen County Clerk has

defenses that share with the main action in this Litigation, as the Plaintiff’s

Complaint asserts alleged unconstitutional conduct throughout the State of New

Jersey involving common questions of law and facts.

     10.     Intervention by the Office of the Bergen County Clerk will not delay or

prejudice the adjudication of the original parties’ rights, as the Defendants have not

yet responded to this litigation, and the Complaint was only recently filed.

Fed.R.Civ.P. 24(b)(3),

     11.     The Office of the Bergen County Clerk’s Motion to Intervene is

accompanied by a Notice of Appearance of Jaime R. Placek, Esq., as attorney of

record of Intervenor Office of the Bergen County Clerk, who may assert certain

defenses or claims to protect his interests as this Litigation progresses. See Exhibit

A.

     12.     I certify that the above statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false, I am subject

to punishment.

                                 s/Jaime Placek_______________________
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DATED: October 1, 2020

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